                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION

                                 No. 7:11-CR-153-BO-1
                                  No. 7:16-CV-128-BO

JERRELL YEOMAN,                                  )
                                                 )
               Petitioner,                       )
                                                 )     UNOPPOSED MOTION TO
               v.                                )     PLACE IN ABEYANCE
                                                 )
UNITED STATES OF AMERICA,                        )
                                                 )
               Respondent.                       )

       Respondent, by and through the United States Attorney for

the Eastern District of North Carolina, hereby moves the Court

to hold this matter in abeyance pending the oral arguments and

subsequent       decisions       of   the   Fourth   Circuit   Court      of   Appeals

in    United     States     v.    Walker,     No.    15-4301   (4th    Cir.    2016),

and United States v. Simms, No. 15-4640 (4th Cir. 2016), both of

which are scheduled to be heard in September of this year.                         In

support     of      this   motion,    Respondent     shows   unto   the    Court   the

following:

       1.      On or about June 6, 2016, Petitioner filed the instant

motion pursuant to 28 U.S.C. § 2255.                   [D.E. 352]. 1      Petitioner

alleges that Hobbs Act robbery is not a crime of violence for



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     Petitioner filed this motion through appointed counsel. [D.E.
     352 at 12]. He also filed a pro se motion, which was docketed
     on June 10, 2016, making largely the same argument.     [D.E.
     359].

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purposes of 18 U.S.C. § 924(c) in light of Johnson v. United

States, 135 S. Ct. 2551 (2015).

      2.    As this Court is aware, in Johnson, 135 S. Ct. at

2557, the Supreme Court struck as unconstitutionally vague the

residual    clause   of   the    Armed    Career    Criminal    Act    (ACCA),   18

U.S.C. § 924(e)(2)(B).

      3.    At    issue   here    is     whether    the   holding     in     Johnson

extends to the residual clause found in § 924(c)(3)(B).                        This

issue will potentially be addressed by the Fourth Circuit in two

cases   currently    scheduled     for     oral    argument    in    September    of

2016:      United States v. Walker, No. 15-4301 (4th Cir. 2016),

and   United     States   v.    Simms,     No.     15-4640    (4th    Cir.    2016).

Accordingly, the decisions in those cases may have a significant

impact on the resolution of Petitioner’s § 2255 motion.

      4.    Respondent    therefore       requests     that    this    Court   hold

Petitioner’s § 2255 motion in abeyance until the Fourth Circuit

decides the aforementioned cases.

      5.    Counsel for Petitioner does not object to this motion.

            WHEREFORE, Respondent respectfully requests that the

Court hold this matter in abeyance pending the Fourth Circuit’s

decisions in Walker and Simms.




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    Respectfully submitted, this 5th day of July, 2016.

                              JOHN STUART BRUCE
                              Acting United States Attorney


                        BY:   /s/ Phillip A. Rubin
                              PHILLIP A. RUBIN
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                     CERTIFICATE OF SERVICE

     I hereby certify that on July 5, 2016, I served a copy of the

foregoing upon the following persons:

    Sherri R. Alspaugh
    Assistant Federal Public Defender
    Counsel for Petitioner
    (Via ECF)



                              /s/ Phillip A. Rubin
                              PHILLIP A. RUBIN
                              Assistant United States Attorney




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